                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                                                                                         April 21, 2021
                           UNITED STATES DISTRICT COURT
                                                                                      Nathan Ochsner, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION


UNITED STATES OF AMERICA                        §
                                                §
VS.                                             §     CRIMINAL ACTION NO. 7:20-CR-1412
                                                §
JUAN CARLOS CARRANZA                            §

                            ORDER RESETTING SENTENCING

       IT IS HEREBY ORDERED that this matter (previously set for April 22, 2021) is hereby

reset for sentencing on June 22, 2021, at 9:00 a.m. in the 9th Floor Courtroom, United States

District Court, 1701 W. Business Highway 83, McAllen, Texas.

        SO ORDERED April 21, 2021, at McAllen, Texas.


                                                    ___________________________________
                                                    Randy Crane
                                                    United States District Judge




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